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                  EXHIBIT 1
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                                SETTLEMENT AGREEMENT

                                          I. PARTIES

       This Settlement Agreement ("Agreement") is entered into among: the United States of

America, acting through the United States Department of Justice and on behalf of the Office of

Inspector General ("OIG-HHS") of the DePartment of Health and Human Services ("HHS")

(collectively, the "United States"); Abbott Laboratories, Inc. and Abbott Laboratories

("Abbott"); and Ven-A-Care of the Florida Keys, Inc. ("Relator").. Collectively, the United

States, Abbott, and the Relator are referred to herein as the "Parties."

                                        II. PREAMBLE

       As a preamble to this Agreement, the Parties agree to the following:

       A.     At all relevant times, Abbott Laboratories Inc. has been a corporation organized

under the laws of Delaware with its principal offices in Abbott Park, Illinois. At all relevant

times, Abbott Laboratories has been a corporation organized under the laws of Illinois with its

principal offices in Abbott Park, Illinois.

       B.     Ven-A-Care of the Florida Keys, Inc. is a corporation with its principal place of

business in Key West, Florida. Zachary T. Bentley, T. Mark Jones, John M. Lockwood, and

Luis E. Cobo are or were officers of Ven-A-Care of the Florida Keys, Inc. As used herein, the

term "Relator" refers to Ven-A-Care of the Florida Keys, Inc. and its current and former officers,

directors, shareholders, employees, attorneys, contractors, agents, assigns, subsidiaries, and

affiliates.

       C.     On or about June 23, 1995, Relator filed a qui tam action in the United States

District Court for the Southern District of Florida captioned United States ex tel. Ven A Care of

the Florida Keys, Inc. v. Abbott Laboratories, et al., Civil Action No. 95-1354 (S. D. Fla.) (the
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"Florida Civil Action"), relating to, among other manufacturers and products, pharmaceutical

products manufactured by Abbott’s former Hospital Products Division ("HPD").

            D.      On or about March 17, 2006, the United States intervened with respect to certain

allegations made against Abbott in the Florida Civil Action. The intervened claims against

Abbott were severed and assigned a new case number, 06-21303-CV-GOLD (S.D. Fla.) (the

"Florida Abbott HPD Case"). Upon intervention, the United States filed an amended complaint.

On or about March 17, 2006, Relator sought leave to amend its complaint against Abbott in

order to adopt the United States’ complaint-in-intervention. Ven-A-Care’s motion was granted

on May 16, 2006. On or about July 28, 2006, the Florida Abbott HPD Case was transferred by

the Judicial Panel for Multi District Litigation ("MDL") to the District of Massachusetts, where

it became part of MDL 1456 and was assigned case number 06-CV-11337-PBS (D. Mass.). On

November 7, 2007, the United States sought leave to file an amended and superseding complaint

against Abbott (the "First Amended Complaint"). On March 13, 2008, the United States’ motion

was granted in part and denied in part.

           E.          On or about April 10, 2000, Relator filed a separate qui tam action in the United

States District Court for the District of Massachusetts, Civil Action No. 00-10698-MLW (the

"Massachusetts Civil Action").° On or about February 15, 2001, Relator amended its complaint

to assert claims against Abbott relating to certain pharmaceutical products manufactured by

Abbott’s Pharmaceutical Products Division ("PPD"), captioned United States ex tel. Ven-A-Care

v. Abbott Laboratories, et al., Civil Action No. 00-10698-MEL (D. Mass.). The United States

declined to intervene in the claims made against Abbott in the Massachusetts Civil Action. On

or around .August 30, 2007, the claims against Abbott in the Massachusetts Civil Action were

severed, the severed action against Abbott was assigned Civil Action No. 07-CV-11618-PBS

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(the "Massachusetts Abbott PPD Case"), and Relator filed a severed amended complaint

("Relator’s Severed Complaint"). The severed claims in Civil Action No. 07-CV-11618-PBS

were transferred to MDL 1456.

           F.          The United States’ First Amended Complaint and Relator’s Severed Complaint

contend that Abbott submitted, or caused to be submitted, false claims to the Medicare Program,

Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395-1395hhh ("Medicare"), and the

Medicaid Program, 42 U.S.C. §§ 1396-1396v ("Medicaid").

            G.      The United States contends that it has certain civil claims, as specified in

Paragraph III.3. below, against Abbott for engaging in the following alleged conduct: As alleged

in its First Amended Complaint in the Florida Abbott HPD Case (attached hereto as Exhibit A),

the United States contends that, during the period January 1, 1991 to December 31,2001, Abbott

set, reported, and maintained, or caused to be set, reported, and maintained, false and inflated

List Prices, Direct Prices, Average Wholesale Prices ("AWPs"), and Wholesale Acquisition

Costs ("WACs") (the "Reported Prices") for certain’drugs identified in paragraphs 30 and 34 of

the United States’ First Amended Complaint (the "Covered Drugs"). The United States’ First

Amended Complaint further contends that the Reported Prices caused the Medicare and

Medicaid programs to overpay for the Covered Drugs. These and all other allegations contained

in the United States’ First Amended Complaint are referred to herein as the "Covered Conduct."

            H.      This Agreement is neither an admission of facts or liability by Abbott nor a

concession by the United States that its claims are not well-founded. Abbott denies the

contentions of the United States and the Relator in the United States’ First Amended Complaint

and in the Relator’s Severed Complaint, and all contentions of the Relator in its prior complaints

and further denies any liability or wrongdoing related to those contentions. Neither this

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United States and,4bbott Laboratories, Inc.
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Agreement, its execution, nor the performance of any obligation under it, including any

payment, nor the fact of settlement£ is intended to be, or shall be understood as, an admission of

liability or wrongdoing, Or other expression reflecting upon the merits of the dispute by Abbott.

           I.            Nothing in this paragraph or any other provision of this Agreement constitutes an

agreement by the Parties concerning the characterization of the Settlement Amount, as defined in

paragraph 1 below, for purposes of the Internal Revenue laws, Title 26 of the United States

Code.

           J.           Relator claims entitlement under 31 U.S.C. § 3730(d) to a share of the proceeds

of the Settlement Amount. Such amount shall be determined by separate agreement between the

United States and the Relator, and shall not be the responsibility of Abbott.

            K.      The allocation of the Settlement Amount among the Florida Abbott HPD Case

and the Massachusetts Abbott PPD Case, and among the United States and Relator and its

counsel, is a matter that was handled separately by and among the United States, Relator, and

Relator’s counsel.

           L.          To avoid the delay, uncertainty, inconvenience, and expense of protracted

litigation and trial of the above claims, the Parties have reached a full and final settlement

pursuant to the Terms and Conditions below.

                                              III. TERMS AND CONDITIONS

           1.          Abbott agrees to pay to the United States the sum of one hundred twenty-six

million, five-hundred thousand dollars ($126,500,000), plus simple interest accrued thereon at

the current one-year treasury yield of .3 % beginning November 1, 2010, and continuing until

and including the day before complete payment is made (the "Settlement Amount") in full

payment of all monies owed pursuant to this Agreement. Abbott agrees to pay the Settlement

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Amount to the United States by electronic funds transfer pursuant to written instructions to be

provided by the United States by the Effective Date of this Agreement. Abbott agrees to make

this electronic funds transfer no later than five business days after the Effective Date.

           2.          Conditioned upon the United States receiving the Settlement Amount from

Abbott and as soon as feasible after receipt, the United States shall pay $29,165,000.00 to

Relator by electronic funds transfer as Relator’s share of the proceeds pursuant to 31 U.S.C. §

3730(d). The Relator’s share of the proceeds shall be paid entirely out of the Settlement

Amount.

           3.          Subject to the exceptions listed in Paragraph 7 below, in consideration of this

Agreement, and Conditioned upon Abbott’s full payment of the Settlement Amount, the United

States (on behalf of itself, its officers, agents, agencies, and departments) releases Abbott, its

current and former parents, predecessors, current and former subsidiaries, affiliates, successors

and assigns, current and former directors, officers, and employees from any civil or

administrative monetary claim the United States has or may have for the Covered Conduct under

the False Claims Act, 31 U.S.C. §§ 3729-33, the Civil Monetary Penalties Law, 42 U.S.C.

§ 1320a-7a, the Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-12, and any other statute

creating causes of action for civil damages or civil penalties which the Civil Division of the

United States Department of Justice has authority to assert and compromise pursuant to 28

C.F.R. Part O, Subpart I, § 0.45(d),. and under common law.

           4.          Relator releases Abbott, its affiliates, predecessors, current and former parents,

successors, divisions, subsidiaries, directors, officers, and employees from any and all claims or

allegations, known or unlcnown, that Relator asserted or could have asserted relating to the

Covered Conduct, including any and all allegations pertaining to any Abbott drug identified in

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  Relator’s prior complaints (or attachments to those complaints) in the Florida Civil Action, as

  well as all claims or allegations, lcnown or unknown, that Relator asserted or could have asserted

  in the Massachusetts Abbott PPD Case concerning any drug manufactured by Abbott. This

  release is expressly limited to any acts, omissions, or conduct that occurred prior to the date of

  the execution of this Agreement.

             5.          Relator represents that it has not assigned to any other person any of the claims

  released by ~his Agreement.

             6.          OIG-HHS expressly reserves all rights to institute, direct, or maintain any

  administrative action seeking exclusion against Abbott (and/or its officers, directors, and

  employees) from Medicare, Medicaid, and all other Federal. health care programs (as defined in

  42 U.S.C. § 1320a-7b(f)) under 42 U.S.C. § 1320a-7a (the Civil Monetary Penalties Law), 42

  U.S.C. § 1320a-7(a) (mandatory exclusion), and/or 42 U.S.C. § 1320a-7(b) (permissive

  exclusion).

             7.          Notwithstanding any term of this Agreement, specifically reserved and excluded

  from the ~cope and terms of this Agreement as to any entity or person (including Abbott and

  Relator) are the following claims of the United States:

                         a.          Any civil, criminal, or administrative liability arising under Title 26,
                                     United States Code (Internal Revenue Code);
                         b.          Any criminal liability;
                         c.          Except as explicitly stated in this Agreement, any administrative liability,
                                     including mandatory or permissive exclusion from Federal health care
                                     programs;
                         d.          Any liability to the United States (or its agencies) for any conduct other
                                     than the Covered Conduct;
                         e.          Any liability based upon obligations created by this Agreement;



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  United States and Abbott Laboratories, Inc.
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                        f.           Any liability for express or implied warranty claims or other claims for
                                     defective or deficient products or services, including quality of goods and
                                     services;
                        g.           Any liability for failure to deliver goods or services due;
                        h.           Any claims arising from Abbott’s obligations to report prices and/or pay
                                     rebates to the States under any law or contract, including, but not limited
                                     to, under the provisions of the Omnibus Budget Reconciliation Act of
                                     1990 and all amendments thereto; and
                        i.           Any claims by or on behalf of any state, territory or the District of
                                     Columbia.
            8.           Relator and its successors, current and former attorneys, agents, and assigns agree

not to object to this Agreement and agree and confirm that this Agreement is fair, adequate, and

!~easonable under a!l the circumstances, pursuant to 31 U.S.C. § 3730(c)(2)(B), and, conditioned

upon receipt of Relator’s share, Relator, for itself, its successors, current and former attorneys,

agents, and assigns, fully and finally releases, waives, and forever discharges the United States,

its officers, agents, and employees from any claims to any portion of the Settlement Amount

arising from or relating to 31 U.S.C. § 3730, including 31 U.S.C. §§ 3730(b), (c), (c)(5), (d) and

(d)(1); from any claims arising from the filing of claims against Abbott in the Florida Abbott

HPD Case and Massachusetts Abbott PPD Case; from any other claims for a share of the

Settlement Amount; and in full settlement of any claims Relator may have under this Agreement.

This Agreement does nbt resolve or in any manner affect any claims the United States has or

may have against the Relator arising under Title 26, U.S. Code (Internal Revenue Code), or any

claims arising under this Agreement.

            9.           Abbott waives and shall not assert any defenses Abbott may have to any criminal

prosecution or administrative action relating to the Covered Conduct that may be based in whole

or in part on a contention that, under the Double Jeopardy Clause in the Fifth Amendment of the

Constitution, or under the Excessive Fines Clause in the Eighth Amendment of the Constitution,

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this Agreement bars a remedy sought in such criminal prosecution or administrative action.

Nothing in this paragraph or any other provision of this Agreement constitutes an agreement by

the United States concerning the characterization of the Settlement Amount for purposes of the

Internal Revenue laws, Title 26 of the United States Code.

             10. Abbott, on behalf of itself and its affiliates, predecessors, current and former

parents, successors, divisions, subsidiaries, directors, and assigns, fully and finally releases the

United States, its agencies, employees, servants, and agents from any claims (including for

attorney’s fees, costs, and expenses of every ldnd and however denominated) that Abbott has

asserted, could have asserted, or may assert in the future against the United States, its agencies,

employees, servants, and/or agents, related to the United States’ investigation and prosecution of

the Florida Abbott HPD Case and Massachusetts Abbott PPD Case, up to the Effective Date of

this Agreement.

             11. Abbott, on behalf of itself and its affiliates, predecessors, current and former

parents, successors, divisions, subsidiaries, directors, and assigns fully and finally releases

Relator, together with its current and former officers, directors, shareholders, employees,

attorneys, contractors, agents, assigns, subsidiaries and affiliates from any claims (including for

attorney’s fees, costs, and expenses of every kind and however denominated) that Abbott has

asserted, could have asserted, or may assert in the future against Relator, related to Relator’s

investigation and prosecution of the Florida Abbott HPD Case and Massachusetts Abbott PPD

Case, up to the Effective Date of this Agreement.

            12. The Settlement Amount shall not be decreased as a result of the denial of claims

for any payment now being withheld by any Medicare carrier or intermediary or any state payer,

related to the Covered Conduct; and Abbott agrees not to cause to resubmit to any Medicare

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carrier or intermediary or any state payer any previously denied claims related to th~ Covered

Conduct, and agrees not to cause any appeal of any such denials of claims.

            13.         Abbott agrees to the followifig:

            a.          Unallowable Costs Defined: that all costs (as defined in the Federal Acquisition

Regulation, 48 C.F.R. § 31.205-47, in Titles XVIII and XIX of the Social Security Act, 42

U.S.C. §§ 1395-1395hhh and 1396-1396v, and in the regulations and official program directives

promulgated thereunder) incurred by or on behalf of each of Abbott and its present or former

officers, directors, employees, shareholders, and agents in connection with the following shall be

"Unallowable Costs" on government contracts and under the Medicare Program, Medicaid

Program, TRICARE Program, and Federal Employees Health Benefits Program ("FEHBP"):

                        (1)         the matters covered by this Agreement;
                        (2)         the United States’ audit(s) and civil investigation(s) of the matters covered
                                    by this Agreement;
                        (3)         Abbott’s investigation, defense, and corrective actions undertaken in
                                    response to the United States’ audit(s) and civil investigation(s) in
                                    connection with the matters covered by this Agreement (including
                                    attorney’s fees);
                        (4) the negotiation and performance of this Agreement; and
                        (5)    the payments Abbott makes to the United States pursuant to this
                               Agreement and any payments that Abbott may make to Relator, including
                               costs and attorney’s fees. (All costs described or set forth in this
                               Paragraph are hereafter "Unallowable Costs.")
           b.           Future Treatment of Unallowable Costs: If applicable, these Unallowable Costsl if

any, shall be separately determined and accounted for in nonreimburseable cost centers by

Abbott, and Abbott shall not charge such Unallowitble Costs directly or indirectly to any

contracts with the United States or any State Medicaid program, or seek payment for such

Unallowable Costs through any cost report, cost statement, information, statement, or payment



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request submitted by Abbott or any of its subsidiaries or affiliates to the Medicare, Medicaid,

TRICARE, or FEHBP Programs.

           c.          Treatment of Unallowable Costs Previously Submitted for Payment: Abbott

further agrees that, if applicable, within 90 days of the Effective Date of this Agreement, it shall

identify to applicable Medicare and TRICARE fiscal intermediaries, carriers, and/or contractors,.

and Medicaid and FEHBP fiscal agents, any Unallowable Costs included in payments Abbott or

any of its subsidiaries or affiliates previously sought from the United States or any State

Medicaid program, including; but not limited to, payments sought in any cost reports, cost

statements, information reports, or payment requests already submitted by Abbott or any of its

subsidiaries or affiliates, and shall request, and agree, that such cost reports, cost statements,

information reports, or payment requests, even if already settled, be adjusted to account for the

effect of the inclusion of the Unallowable Costs. Abbott agrees that the United States, at a

minimum, shall be entitled to recoup from Abbott any overpayment plus applicable interest and

penalties as a result of the inclusion of such Unallowable Costs on previously submitted cost

reports, information reports, cost statements, or requests for payment.

            Any payments due after the adjustments have been made shall be paid to the United

States pursuant to the direction of the Department of Justice and/or the affected agencies. The

United States reserves its rights to disagree with any calculations submitted by Abbott or any of

its subsidiaries or affiliates on the effect of inclusion of Unallowable Costs on Abbott or any of

its subsidiaries’ or affiliates’ cost reports, cost statements, or informatii~n reports.

           d.           Nothing in this Agreement shall constitute a waiver of the fights of the United

States to audit, examine, or re-examine Abbott’s books and records to determine that no

Unallowable Costs have been claimed in accordance with the provisions of this Paragraph.

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           14. This Agreement is intended to be for the benefit of the Parties only. The Parties

do not release any claims against any other person or entity, except to the extent provided for in

Paragraph 15, below, regarding waiver for beneficiaries.

           15. Abbott agrees that it waives and shall not seek payment for any of the health care

billings, if any, covered by this Agreement from any health care beneficiaries or their parents,

sponsors, legally responsible individuals, or third party payors based upon the claims defined as

Covered Conduct.

            16. Abbott warrants that it is solvent within the meaning of 11 U.S.C. §§ 547(b)(3)

and 548(a)(1)(B)(ii)(I), and shall remain solvent immediately following payment of the

Settlement Amount to the United States. Further, the Parties warrant that, in evaluating whether

to execute this Agreement, they (a) have intended that the mutual promises, covenants, and

obligations set forth herein constitute a contemporaneous exchange for new value given to

Abbott, within the meaning of 11 U.S.C. § 547(c)(1); and (b) conclude that these mutual

promises, covenants, and obligations do, in fact, constitute such a contemporaneous exchange.

Further, the Parties warrant that the mutual promises, covenants, and obligations set forth herein

are intended to and do, in fact, represent a reasonably equivalent exchange of value that is not

intended to hinder, delay, or defraud any entity to which Abbott was or became indebted on or

after the date of this transfer, within the meaning of 11 U.S.C. § 548(a)(1).

            17. Within five (5) business days after the Effective Date of this Agreement, the

Parties shall file the Stipulation of Voluntary Dismissal together with the proposed Order of

Dismissal of the Florida Abbott HPD case which are attached hereto as Exhibit B, and the

United States will file a Written Consent to Relator and Defendant’s Stipulation for Voluntary



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Dismissal with Prejudice of Relator’s Severed Complaint in the Massachusetts Abbott PPD Case,

in the form attached as Exhibit C hereto.

            18. Each Party shall bear its own legal and other costs, including legal fees, incurred

in connection with the matters covered by this Agreement, including the preparation and

performance of this Agreement.

            19. The Parties each represent that this Agreement is freely and voluntarily entered

into without any degree of duress or compulsion whatsoever.

            20. This Agreement is governed by the lawsof the United States. The Parties agree

that the exclusive jurisdiction and venue for any dispute arising between or among any or all of

the Parties under this Agreement is the United States District Court for the District of

Massachusetts.

            21. For purposes of construction, this Agreement shall be deemed to have been

drafted by all Parties to this Agreement and shall not, therefore, be construed against any Party

for that reason in any subsequent dispute.

            22. This Agreement shall constitute the complete agreement between the Parties as to

the matters addressed herein. This Agreement may not be amended except by written consent of

all of the Parties. Relator and Abbott will separately execute the Relator-Abbott Settlement

Agreement.

            23. The individuals signing this Agreement on behalf of Abbott represent and warrant

that they are authorized by Abbott to execute this Agreement. The individuals signing this

Agreement on behalf of Relator represent and warrant that they are authorized by Relator to

execute this Agreement. The United States’ signatories represent that they are signing this

Agreement in their official capacities and that they are authorized to execute this Agreement.

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United States and Abbott Laboratories, Inc.
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            24. This Agreement may be executed in counterparts, each of which constitutes an

original and all of which constitute one and the same Agreement.

            25.         This Agreement is binding on all successors, transferees, and assigns of the

Parties.

            26.         Abbott and Relator consent to the United States’ disclosure of this Agreement,

and information about this Agreement, to the public. Documents produced by Abbott subject to

the Protective Order and Case Management Order in the Florida Abbott HPD Case and

Massachusetts Abbott PPD Case shall remain subject to those Orders.

            27. If any provision of this Settlement Agreement, or the application thel~eof, shall for

any reason or to any extent be construed by a Court of competent jurisdiction to be invalid or

tmenforceable, the remainder of this Settlement Agreement, and application of such provision to

other circumstances, shall remain in effect and be interpreted so as best reasonably to effect the

intent of the Parties. Notwithstanding the foregoing, if either the payment or any of the release

provisions hereof are found to be unenforceable or invalid by a court of competent jurisdiction,

then such invalidity or unenforceability shall be cause for voiding the entire Settlement

Agreement at the election of the Party the interests of which are injured by the finding of

invalidity or unenforceability, in which event all claims and actions dismissed shall be reinstated

with all statutes of limitations deemed tolled from the Effective Date of this Agreement.

            28. This Agreement is effective on the date of signature of the last signatory to the

Agreement ("Effective Date of this Agreement"). Facsimiles of signatures, and/or electronic

signatures in portable document format (.pdf), shall constitute acceptable, binding signatures for

purposes of this Agreement.



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                                          THE UNITED STATES OF AMERICA



DATED:/~-’d’/6

                                                         Attorney
                                                    Commercial Litigation Branch
                                                    Civil Division
                                                    United States Department of Justice




                                              BY:
                                                    MA~ L’~.ff~. INE ~
                                                    Assistant United States Attorney
                                                    United States Attorney’s Office for the
                                                    Southern District of Florida




DATED:                                        BY:
                                                    GREGORY E. DEMSKE
                                                    Assistant Inspector General for Legal Affairs
                                                    Office of Counsel to the Inspector General
                                                    Office of Inspector General
                                                    United States Department of Health and
                                                    Human Services




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                                                THE UNITED STATES OF AMERICA



  DATED:                                         BY:
                                                       JUSTIN DRAYCOTT
                                                       Trial Attorney
                                                       Commercial Litigation Branch
                                                       Civil Division
                                                       United States Department of Justice




  DATED:                                         BY:
                                                       MARK LAVINE
                                                       Assistant United States Attorney
                                                       United States Attorney’s Office for the
                                                       Southern District of Florida




                                                 BY:
                                                       GREGORY E. DEMSKE
                                                       Assistant Inspector General for Legal Affairs
                                                       Office of Counsel to the Inspector General
                                                       Office of Inspector General
                                                       United States Department of Health and
                                                       Human Services




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                                ABBOTT LABORATORIES, INC. - DEFENDANT




DATED:                                        BY:,
                                                     JAMES R. DALY
                                                     Jones Day
                                                     77 West Wacker
                                                     Chicago, Illinois 60601
                                                     Counsel to Abbott Laboratories




                       VEN-A-CARE OF THE FLORIDA KE~INC. - RELATOR




                                                                of the Florida Keys, Inc.

                                        °
DATED:                                        BY:
                                                                BREEN
                                                       le Breen Law Firm
                                                     Suite 260
                                                     5755 North Point Parkway
                                                     Alpharetta, GA 33029
                                                     Counsel to Ven-A-Care of the Florida Keys, Inc.




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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                    )
 AVERAGE WHOLESALE PRICE                           )
 LITIGATION                                        )   MDL No. 1456
                                                   )   Civil Action No. 01-12257-PBS
                                                   )
 THIS DOCUMENT RELATES TO:                         )   Hon. Patti Saris
                                                   )
 United States of America ex tel. Ven-a-Care of    )   (Original Complaint Filed in the
 the Florida Keys, Inc., v. Abbott Laboratories,   )   Southern District of Florida, Case No.
 Inc.,                                             )   06-21303-CIV-GOLD/TURNOFF)
 CIVIL ACTION NO. 06-11337-PBS                     )
                THE UNITED STATES’ FIRST AMENDED COMPLAINT

       The United States brings this fraud action against Abbott Laboratories, Inc. ("Abbott") to

recover losses sustained by the Medicare and Medicaid programs. Over the course of several

years, Abbott reported inflated pharmaceutical prices that it lcnew Medicare and Medicaid relied

upon to set reimbursement rates for Abbott’s pharmaceutical products. Abbott’s actual sales

prices for its pharmaceutical products were far less than the prices reported by Abbott. By

lcnowingly reporting inflated prices - often 1000% higher than Abbott’s actual prices - Abbott

ensured its customers received inflated reimbursement and profits from Medicare and Medicaid.

Abbott then used the public fisc as a marketing tool, actively promoting government-funded

"spreads" between (1) its fraudulently inflated prices and (2) its actual sales prices as an

inducement to its customers. In addition, Abbott operated its own home infusion pharmacies and

entered into profit-sharing partnerships with health care providers that allowed Abbott to directly

profit off Abbott’s manipulation of third party reimbursements for its drugs. These efforts

allowed Abbott to increase its profits by boosting sales for its drugs.




                                  EXHIBIT A
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                                 I. NATURE OF ACTION

       1.     The United States brings this action to recover treble damages and civil penalties

under the False Claims Act ("FCA"), 31 U.S.C. §§ 3729-33, and to recover damages and other

monetary relief under the common law or equitable theories of fraud and unjust enrichment.

      2.      The United States bases its claims on Abbott having submitted and caused the

submission of false or fraudulent claims to the United States in violation of 31 U.S.C. §

3729(a)(1), and having made and used false statements to get false or fraudulent claims paid by

the United States in violation of 31 U.S.C. § 3729(a)(2).

      3.      Within the time frames detailed below, Abbott engaged in a fraudulent scheme

that caused the Medicare and Medicaid programs to pay excessive reimbursement to Abbott’s

customers, e.g., pharmacies, physicians, hospitals, home health agencies, nursing homes, home

infusion companies, clinics and physicians (hereafter referred to collectively as "Customers"). In

furtherance of this scheme, Abbott reported false, fraudulent and inflated drug prices for certain

drugs (listed in ¶¶ 30 and 34 below) to several price reporting compendia that the Medicare and

Medicaid programs relied upon to set reimbursement rates for Abbott’s customers. A chart

setting out examples showing the difference between the prices at which Abbott actually sold its

drugs and the false prices reported by Abbott is attached hereto as Exhibit 1. Abbott knew that

the Medicare and Medicaid programs relied on Abbott’s reported prices to those compendia to

set reimbursement rates for claims submitted for Abbott’s drugs. Abbott then sold the drugs for

far lower prices, and marketed to existing and potential Customers the goverm~aent-funded
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"spread" between the inflated reimbursement amounts and the actual acquisition costs of the

drags to boost its sales and profits.

       4.      Abbott knew that its false price reporting and marketing efforts would cause its

Customers to submit claims for fraudulently inflated Medicaid and Medicare reimbursement.

      5.       Abbott’s fraudulent scheme to induce Customers to purchase its products by

ensuring that federal reimbursement rates for those products would be set at artificially inflated

levels violated the FCA, the federal anti-kickback statute, 42 U.S.C. § 1320a-7b(b), common law

and numerous state laws.

       6.      To get fraudulent claims paid by the United States, Abbott also routinely made

false statements directly to state Medicaid programs by reporting these same fraudulently inflated

prices to the states. These statements violated the FCA, common law and various state laws.

       7.      The United States timely asserts the causes of action alleged herein based on the

filing of relator’s complaint in this action.

                                        II. JURISDICTION

       8.      The United States’ original Complaint in this matter was filed on March 16, 2006

in the Southern District of Florida.~ The case was transferred to Multi-District Litigation

("MDL") No. 1456 on July 27, 2006. The Court has subject matter jurisdiction to entertain this

action under 28 U.S.C. § § 1331 and 1345 and supplemental jurisdiction to entertain the common

law and equitable causes of action pursuant to 28 U.S.C. § 1367(a). The Court may exercise


      i This case originated in the Southern District of’Florida as Case No. 06-21303-CIV-
GOLD/TURNOFF. The United States understands that this matter will be transferred back to the
Southern District of Florida for trial upon the completion of these MDL proceedings.
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personal jurisdiction over Abbott pursuant to 31 U.S.C. § 3732(a) because Abbott resides or

transacts business in the District of Massachusetts.

                                         III. VENUE

       9.     Venue is proper in the District of Massachusetts under 31 U.S.C. § 3732 and 28

U.S.C. § 1391 (b) and (c) because Abbott resides or transacts business in this District.2

                                        IV. PARTIES

       10.    The United States brings this action on behalf of the Department of Health and

Human Services ("HHS") and the Centers for Medicare & Medicaid Services ("CMS") (formerly

known as the Health Care Financing Administration), which administer the Medicare and

Medicaid programs.

       11. Relator Ven-A-Care of the Florida Keys, Inc. ("Ven-A-Care"), is a corporation

organized under the laws of Florida, with its principal offices in Key West, Florida. Ven-A-Care

is a pharmacy licensed to provide the prescription drugs specified in this Complaint and has

been, during the relevant period of this Complaint, a Medicare and Florida Medicaid provider.

Ven-A-Care’s principal officers and directors have included John M. Lockwood, M.D., Zachary

Bentley, Luis Cobo and T. Mark Jones, who are each citizens of the United States and reside in

Key West, Florida. The FCA, 31 U.S.C. § 3730(b)(1), provides that private parties may bring a

lawsuit on behalf of the United States to recover damages for false claims. Ven-A-Care brought

this action against Abbott on behalf of itself and the United States.



      2 Abbott al.so resides or transacts business in the Southern District of Florida as well.
Thus, venue is also proper in that District.
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       12. Defendant Abbott is a corporation organized Under the laws of Illinois with its

principal offices in Abbott Park, Illinois. At all times material to this civil action, Abbott has

transacted business throughout the United States, selling and distributing its drugs, including but

not limited to those identified in this Complaint, to purchasers within this District.

                                       V. THE LAW

       The False Claims Act

       13.    The FCA pro~cides in pertinent part, that:

              (a) Any person who (1) lmowingly presents, or causes to be presented, to an
              officer or employee of the United States Govermnent or a member of the Arnaed
              Forces of the United States a false or fraudulent claim for payment or approval;
              (2) knowingly makes, uses, or causes to be made or used, a false record or
              statement to get a false or fraudulent claim paid or approved by the Government


              is liable to the United States Government for acivil penalty of not
              less than $5,000 and not more than $10,000, plus 3 times the
              amount of damages which the Government sustains because of the
              act of that person ....
              (b) For purposes of this section, the teruas "knowing" and
              "lrmowingly" mean that a person, with respect to information
              (1) has actual knowledge of the information; (2) acts in deliberate
              ignorance of the truth or falsity of the information; or (3) acts in
              reckless disregard of the truth Or falsity of the information, and no
              proof of specific intent to defraud is required.

31 U.S.C. § 3729.

       14. Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, as

amended by the Debt Collection Improvement Act of 1996, 28 U.S.C. § 2461 (notes), and 64

Fed. Reg. 47099, 47103 (1999), the civil penalties were adjusted to $5,500 to $11,000 for

violations occurring on or after September 29, 1999.
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B.        The Federal Anti-Kickback Statute

          15. Congress first enacted the federal anti-ldckback statute, 42 U.S.C. § 1320a-7b(b),

in 1972 to protect the integrity of Medicare and Medicaid. Congress strengthened the statute in

1977, and again in 1987, to ensure that kickbacks masquerading as legitimate transactions would

not evade its reach. See SOcial Security Amendments of 1972, Pub. L. No. 92-603, §§ 242(b)

and (c); 42 U.S.C. § 1320a-7b, Medicare-Medicaid Antifraud and Abuse Amendments, Pub. L.

No. 95-142; Medicare and Medicaid Patient and Program Protection Act of 1987, Pub. L. No.

100-93.

          16. The anti-ldckback statute prohibits any person or entity from malting or accepting

payment to induce or reward any person for referring, recommending or arranging for federally-

funded medical items, including items provided under Medicare and Medicaid. In pertinent part,

the statute provides:

                (b) Illegal remuneration

                        (1) whoever knowingly and willfully solicits or
                        receives any remuneration (including any ldckback,
                        bribe, or rebate) directly or indirectly, overtly or
                        covertly, in cash or in ldnd -

                              (A) in return for referring an individual to a
                              person for the furnishing or arranging for the
                              furnishing of any item or service for which
                              payment may be made in whole or in part
                              under a Federal health care program, or

                              (B) in return for purchasing, leasing,
                              ordering, or arranging for or recormaaending
                              purchasing, leasing, or ordering any good,
                              facility, service, or item for which payment
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                            may be made in whole or in part under a
                            Federal health care program,

                     shall be guilty of a felony and upon conviction thereof, shall be
                     fined not more than $25,000 or imprisoned for not more than five
                     years, or both.

                     (2) whoever knowingly and willfully offers or pays any
                     remuneration (including any ldckback, bribe, or rebate)
                     directly or indirectly, overtly or covertly, in cash or in l~ind
                     to any person to induce such person --

                     (A) to refer an individual to a person for the
                     furnishing or arranging for the furnishing of any
                     item or service for which payment may be made in
                     whole or in part under a Federal health care
                    .program, or

                     (B) to purchase, lease, order or arrange for or
                     recommend purchasing, leasing or ordering any
                     good, facility, service, or item for which payment
                     may be made in whole or in part under a Federal
                     health care program,

              shall be guilty of a felony and upon conviction thereof, shall be fined not
              more than $25,000 or imprisoned for not more than five years, or both.

42 U.S.C. § 1320a-7b(b). Those who violate the statute also are subject to exclusion from

participation in federal health care programs and, effective August 6, 1997, civil monetary

penalties of up to $50,000 per violation and up to three times the amount of remuneration paid.

42 U.S.C. § 1320a-7(b)(7) and 42 U.S.C. § 1320a-7a(a)iT).
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                    VI. THE FEDERAL HEALTHCARE PROGRAMS

       17. Medicaid and Medicare were created to provide access to healthcare for elderly,

indigent or disabled residents of the United States.

A.     The Medicaid Program

       18. Medicaid is a joint federal-state program that provides health care benefits for

certain groups, primarily the poor and disabled.

       19. The federal Medicaid statute sets forth the minimum requirements for state

Medicaid programs to qualify for federal funding. 42 U.S.C. § 1396a.

       20. The federal portion of states’ Medicaid payments, laaown as the Federal Medical

Assistance Percentage ("FMAP"), is based on a state’s per capita income compared to the

national average.42 U.S.C. § 1396d(b). Among the states, the FMAP is at least 50%, and as

high as 83%.

       21.     The Medicaid statute requires each participating state to implement a plan

containing certain specified minimum criteria for coverage and payment of claims. 42 U.S.C.

§§ 1396, 1396a(a)(13), 1396a(a)(30)(A).

       22.     The Medicaid programs of all states reimburse for prescription drags.

       23.     The vast majority of states award contracts to private companies to evaluate and

process Medicaid recipients’ claims for payment. Typically, after processing the claims, these

private companies then generate funding requests to the state Medicaid program, which in turn

obtains federal funds from the United States.
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        24. By becoming a participating supplier in Medicaid, suppliers agree to abide by all

laws, regulations, and procedures applicable to that program, including those governing

reimbursement.

B.      The Medicare Program

        25. In 1965, Congress enacted Title XVIII of the Social Security Act, known as the

Medicare program, to pay for the costs of certain healthcare services and items. Entitlement to

Medicare is based on age, disability or affliction with end-stage renal disease. 42 U.S.C. §§ 426-

426a, 13950.

        26. HHS is responsible for the administration and supervision of the Medicare

program. CMS is an agency of HHS and directly administers the Medicare program. The

Medicare program has several parts, including Medicare Part B ("Supplementary Medical

Insurance for the Aged and Disabled"), which covers physician services, as well as durable

medical equipment ("DME") and certain drug products and supplies. 42 U.S.C. § 1395k; 42

C.F.R. § 410.10.

        27. Medicare Part B generally covers drugs which are provided either: (a) incident to

a physician’s service and cannot usually be self-administered (42 C.F.R. § 410.26 (e.g., certain

oncology drugs)); or (b) in conjunction with the medical necessity of an infusion pump or

nebulizer or other DME device payable under Medicare’s DME benefit. 42 C.F.R. §§ 405.517,

414.701.
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        28. During the relevant time period, CMS contracted with private insurance carriers

("Contractors") to administer and pay Part B claims from the Medicare Trust Fund. 42 U.S.C.

§ 1395u. In this capacity, the Contractors act on behalf of CMS. 42 C.F.R. § 421.5(b).

        29. Contractors receive, process and pay claims under Medicare Part B for drugs from

various Medicare providers and suppliers. Typically, once a contractor approves a claim, the

contractor then submits a payment request to a Medicare bank account funded by federal funds.

C.      Drug Reimbursement Under Medicaid and Medicare

        30. The Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 301-97, requires

pharmaceutical companies to submit to the Food and Drug Administration ("FDA") a listing of

every drug product in commercial distribution. 21 U.S.C. § 355. The FDA provides for the

assignment to each listed drug product of a unique 11-digit, 3-segment number, l~nown as the

National Drug Code ("NDC"). FDA has assigned approximately 170,000 NDCs to drug

products. The drugs and corresponding NDCs at issue in this case are listed below:

     DRUG                                         NDC#

     Sodium Chloride Injection                    00074196607
     Water for Injection 30 ml                    00074397703
     Vancomycin HC1 500 mg                        00074433201
     Water for Injection 10 ml                    00074488710
     Water for Injection 20 ml                    00074488720
     Sterile Water for Injection                  00074488750
     Sodium Chloride Injection                    00074488810
     Sodium Chloride Injection                    00074488820
     Sodium Chloride Irrigation                   00074613802
     Sodium Chloride Irrigation                   00074613803
     Sodium Chloride Irrigation                   00074613822
     Sterile Water for Irrigation                 00074613902
     Sterile Water for Irrigation                 00074613903


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   Sterile Water for Irrigation                  00074613922
   Vancomycin HC1 5 grn                          00074650901
   Vancomycin HC1 1 grn                          00074653301
   Vancomycin HCL 500 mg Add-Vantage             00074653401
   Vancomycin HC1 1 gm Add-Vantage               00074653501
   5% Dextrose in Water 50 ml                    00074710013
   5% Dextrose in Water 100 ml                   00074710023
   Sodium Chloride Injection                     00074710102
   Sodium Chloride 0.9% 50ml                     00074710113
   Sodium Chloride 0.9% 100 ml                   00074710123
   Dextrose Injection                            00074712007
   Sodium Chloride Irrigation                    00074713809
   Sterile Water for Irrigation                  00074713909
   Dextrose 5%/Kcl/NaC1 1000 ml                  00074790209
   Dextrose Injection                            00074792202
   5% Dextrose in Water 500 ml                   00074792203
   5% Dextrose in Waterl000 ml                   00074792209
   Dextrose Injection                            00074792336
   Dextrose Injection                            00074792337
   Dextrose 5% and 0.225% NaCL Injection         00074792409
   Dextrose 5% and 0.225% NaCL Injection         00074792609
   5% Dextrose/NaC1 0.9% 1000 ml                 00074794109
   Sodium Chloride Irrigation                    00074797205
   Sterile Water for Irrigation                  00074797305
   Sodium Chloride 0.9% 250 ml                   00074798302
   Sodium Chloride0.9% 500 ml                    00074798303
   Sodium Chloride0.9% 1000 ml                   00074798309
   Sodium ChlorideInjection                      00074798436
   Sodium ChlorideInjection                      00074798437
   Sodium Chloride Injection                     00074798509
   Water for Injection 1000 ml                   00074799009
   Acyclovir Sodium 500 mg                       00074442701
   Acyclovir Sodium 1 gm                         00074445201

      31. Drug manufacturers, such as Abbott, have not typically submitted claims for

reimbursement to federal health care programs. Instead, Abbott marketed its products to its

Customers, who then purchased the products either directly or through wholesalers based on a

price the Customers negotiated with Abbott. In addition to using wholesalers, Customers also


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purchased Abbott products through group purchasing organizations ("GPO"), who negotiated

prices on behalf of Abbott’s Customers. However, as described in ¶¶ 111-138 below, Abbott

also had a business unit that, among other activities, operated home infusion pharmacies and

actually submitted reimbursement claims for drugs on behalf of various clients.

       32. Abbott’s Customers then submitted claims for payment for Abbott products to

Medicare and Medicaid after dispensing or administering Abbott drugs. Medicare and Medicaid

reimbursed some of the claims submitted by Abbott’s home infusion pharmacies. In other

instances, Abbott administered reimbursement claims for certain home infusion clients and

collected portions of those clients’ Medicare and Medicaid reimbursements as compensation for

those services.

       33. For the most part, in the Medicaid program, claims submitted by retail pharmacies

are processed and tracked using the NDC of the drug.

       34. The Medicare program generally uses the Healthcare Common Procedural Coding

System ("HCPCS") to reimburse for drugs. The HCPCS utilize 5-digit alphanumeric codes to

identify and bill for medical products and supplies. The codes at issue here are listed below:

   HCPCS                          Description
   J2912                          Sodium Chloride, .9 percent, per 2 ml
   J3370                          Vancomycin HC1, 500 mg
   J7030                          Normal Saline Solution, 1000 cc
   J7040                          Normal Saline Solution, 500 ml
   J7042                          5 percent Dextrose/Normal Saline Solution, 500 ml
   J7050                          Normal Saline Solution, 250 cc
   J7051                          Sterile Saline or Water, up to 250 cc
   J7060                          5 percent Dextrose/Water, 500 ml
   J7070                          D-5-W, 1000 cc
   J7110                          Dextran 75, 1000 ml
   J7130                          Hypertonic Saline Solution, 50 or 100 mEq, 20 cc vial


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        35.   During the relevant period, Abbott usually reported prices to various price

                                         The price publishers used the information to publish
publishers and services on an annual basis.

pricing compendia.

        36. The reimbursement amounts for claims submitted by Abbott or Abbott’s

Customers for the drugs at issue in this Complaint were directly influenced by Abbott’s false

price representations. The infomaation contained in the published pricing compendia was used

by most third party payor insurance companies, including the Medicare and Medicaid programs,

in determining the reimbursement rates for prescription drugs. Abbott documents show that

Abbott knew of the impact of its price representations on government reimbursement on claims

submitted by its Customers for its drugs2 Abbott documents also show that the company actively

marketed the government-funded profits or "spreads" on its drugs created by its false price

representations.

        37. No governmental payor knew of or sanctioned Abbott’s conduct as set forth in this

Complaint, i.e., its deliberate manipulation of its published prices for certain of its products to

induce its Customers to purchase those products.

D.      Medicaid Reimbursement Formulas

        38. When reimbursing for drugs, the State Medicaid programs’ goal has been to pay

an amount which, in the aggregate, reflects the lower of (1) the estimated acquisition cost

("EAC") of covered drugs, plus a reasonable dispensing fee, or (2) a provider’s usual and

customary charges to the general public. To determine the EAC for a covered drug, State




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Medicaid programs are required to develop reimbursement fomaulas that must be approved by

the Secretary of HHS. 42 C.F.R. §§ 447.331,447.332, and 447.333 (2005).

       39. While the specific reimbursement formulas vary from state to state, the various

State Medicaid programs have generally reimbursed for each drug based on the lowest of (a) the

EAC as set by the states, (b) the maximum allowable cost ("MAC") set by the state

Pharmaceutical Reimbursement Boards, or (c) the providers’ usual and customary charge. For

multiple source drugs subject to a federal upper limit, states must in the aggregate not pay more

thanthose limits. 42 C.F.R. §§ 447.331,447.332 and 447.333 (2005).

       40.     The states’ methodology for arriving at EAC includes:

              A.      discounting a percentage off of the Average Wholesale Price ("AWP");

              B.      adding a percentage to the Wholesale Acquisition Cost ("WAC") ; and/or,

              C.      requiring the drug companies to certify prices directly in writing to the

Medicaid program in response to state requests for particular pricing information.

       41, AWP is used to refer to the price at which a pharmaceutical firm or a wholesaler

sells a drug to a retail Customer who then administers it to a .patient. WAC is used to refer to the

price at which a pharmaceutical firm typically sells a drug to wholesalers who would then resell

it to a retail Customer.

       42. While the majority of states use published AWPs to calculate reimbursement,

approximately six states (Alabama, Florida, Maryland, Massachusetts, Rhode Island and Texas)

have used the wholesale acquisition cost ("WAC") to set the EAC.




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        43. The AWPs and WACs relied upon by the State Medicaid programs have generally

been those published by (1) Thomson Publishing, publisher of the Red Book and various other

price publications, (2) First Databank, publisher of the Blue Book and other electronic price

publications; or (3) Medi-Span, Inc., publisher of an electronic or automated price service and the

Hospital Fomaulary Pricing Guide. Thompson Publishing, First Databank and Medi-Span, Inc.

are hereafter referred to as the "Publishers" and their various publications and data services are

hereinafter referred to as "Price Publications."

        44. In addition to relying on the manufacturers’ reported prices as published in the

Price Publications, some State Medicaid programs also received price representations directly

from manufacturers, and relied on these representations to confirm the accuracy of the figures

they use to determine state reimbursement amounts. For example, the State of Texas required

drug companies to submit their prices directly to the Texas Medicaid program in a signed

certification attesting to the accuracy of the price information.

E.      Medicare Reimbursement Formulas

        45. From 1992 through 1997, Medicare based its reimbursement for multi-source

generic drugs, the drugs at issue here, at the lower of the EAC or the median AWP of all generic

forms of a drug. 42 C.F.R. § 405.517 (1992-1998). In general, Medicare relied on median

AWPs to set reimbursement rates.

        46. From January 1, 1998, until December 31, 1998, Medicare based its

reimbursement for all generic forms of a drug at 95% of the median AWP for the drug. Balanced

Budget Act of 1997, 42 U.S.C. § 1395u(o); 42 C.F.R. § 405.517 (1998).


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       47. From 1999 through 2004, Medicare based its reimbursement for all generic forms

of a drug at the lower of(l) 95% of the median published AWP for the drug; or (2) the AWP of

the least expensive brand-name drug. 42 U.S.C. § 1395u(o); 42 C.F.R. § 405.517 (1999-2004).

       48. After the reimbursement amount is calculated, Medicare pays 80 percent and the

Medicare beneficiary is responsible for the remaining 20 percent co-payment. If the Medicare

beneficiary is also a Medicaid recipient, the Medicaid program generally pays the 20 percent

Medicare co-payment.

       49. Medicare generally relied upon the AWPs published by Thomson Publishing in its

annual national compendium known as the Drug Topics Red Book ("Red Bool?’), as well as Red

Book monthly updates to set reimbursement rates for covered drugs.

                                VII. ABBOTT’S SCHEME

       50. From at least on or before January 1, 1991, and continuing through 2001, Abbott

defrauded the United States by knowingly causing the Medicare and Medicaid programs to pay

false or fraudulent claims for dextrose solutions, sodium chloride solutions, sterile water,

Vancomycin and Acyclovir Sodium.

       51. The specific dextrose solutions, sodium chloride solutions, sterile water,

Vancomycin and Acyclovir Sodium products at issue herein are identified by NDC or HCPCS

Code in ¶¶ 30 and 34 above and are hereinafter referred to jointly as the "Drugs."

       52.   Dextrose solutions, sodium chloride solutions, and sterile water are generic,

water-based solutions used to facilitate the intravenous infusion of other drugs and for fluid

replacement, and are commonly referred to as large volume parenterals ("LVPs").


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       53. Vancomycin is a powerful, intravenous antibiotic that Abbott has sold as a generic

drug since 1988.

       54. Acyclovir Sodium ("Acyclovir") is an antiviral drug used to treat several

opportunistic viral infections, some of which are associated with HIV/AIDS.

       55.    Abbott marketed and sold its products, including the Drugs, to Customers.

       56.    The Customers purchased the products either directly from Abbott, through a

GPO contract or through wholesalers.

       57. The amount paid by a Customer was typically based on a price negotiated with

Abbott or the GPO.

       58. Regardless of the method of purchase, Abbott’s Customers submitted claims for

payment.to Medicare and Medicaid when an Abbott product was administered to a program

beneficiary. The claims submitted by Abbott’s Customers were paid at amounts directly

influenced by Abbott’s false and fraudulent prices.

       59. Abbott routinely disseminated false pricing information for the Drugs to the

Pricing Publications. Abbott employees typically reported the false and fraudulent prices to the

Price Publications annually, although they sometimes did so more often. On most occasions,

Abbott reported inflated "List Prices" or ".Direct Prices" (both referred to hereinafter as LP),

WACs and/or AWPs. ALP is supposed to reflect the price paid by a Customer that buys drugs

directly from Abbott and not through a wholesaler.

       60. When Abbott reported a LP, some Price Publications (e.g., Blue Book, which

provided pricing information for the vast majority of the state Medicaid programs) calculated


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Abbott’s AWPs by applying a markup -usually 18.75% - to the LPs. Abbott was aware of how

the Price Publications set its AWPs and knew (1) that the markup remained constant and (2) that

its LPs ultimately controlled the AWP reported by the Price Publications for many of its

products. Abbott reported WACs for several of its drugs as well, but during the time period

covered by the Complaint, the Price Publications used Abbott’s LPs (plus the standard markup)

to set the AWPs used by the Medicaid and Medicare programs.

       61. In some circumstances, Abbott itself calculated and supplied the AWP which it

sought to have published.

       62. For example, in a January 16, 1996 letter from Abbott’s Reimbursement Manager

to Medi-Span, Abbott directly reported AWPs for two of its products.

       63. Abbott documents also confirm its knowledge that the LPs it reported directly

impacted the AWP. In a March 20, 1995 e-mail between Abbott employees regarding the

reporting of new Vancomycin LPs, one employee notes, "Please notify Red Book and Medi-Span

of these changes ASAP. They are the sources for creating the AWP that is important to

[Abbott’s] Alternate Site [sales division]."

       64. Abbott also submitted false and fraudulent prices directly to state Medicaid

programs. In an October 1, 1997, Abbott "Medicaid Coordinator" Tena Brown represented in a

letter to the State of Texas Medicaid Program that the price on Abbott’s Vancomycin 1 GM

Fliptop vial- sterile, NDC 00074-6533-01 ("Vancomycin 1 GM FTV") was $583.70 for a

package of 10, or $58.37 a unit. That led the Texas Medicaid program to set reimbursement for




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Vancomycin 1 GM FTV at that price ($58.37 a unit). At the time, Abbott sold Vancomycin 1

GM FTV to certain Customers for $5.53 per unit, through a GPO called Oncology Solutions.

       65. With extremely few exceptions, Abbott reported increasingly higher prices for the

Drugs from at least on or before January 1, 1991 through 2001. At the same time, the prices

Abbott actually charged to its Customers decreased or remained the same.

       66. Abbott lcnew that the prices which it reported to the Price Publications directly

affected reimbursement amounts paid by the Medicaid and Medicare programs. As Abbott’s

Manager for Reimbursement noted in an April 26, 1995 memorandum, "[h]aving a published

[LP] that is high allows a provider to bill at that list price." The false or fraudulent prices Abbott

reported to the Price Publications inflated government reimbursement amounts on claims

submitted by Abbott’s Customers for the Drugs. A chart setting out some examples showing the

difference between the prices at which Abbott actually sold its drugs and the false prices reported

by Abbott is attached hereto as Exhibit 1.

       67. Abbott manipulated its LPs, AWPs and WACs to induce its Customers to

purchase Abbott’s products, including the Drugs, by marketing the huge profits that would result

to its Customers.

       68. Abbott was well aware of how the Government used its pricing information to

reimburse Abbott products. For example, Abbott organized an internal entity lcnown as the

"Medicare Working Group." The group (1) was organized by high level Abbott executives, (2)

involved representatives responsible for reimbursement issues from all major Abbott divisions,

and (3) discussed and organized efforts to influence government reimbursement for drugs.


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        69. Documents from the Medicare Worldng Group establish that Abbott knew that

AWP is based upon Abbott’s reported price plus, according to the Medicare Worldng Group

documents, "a mark-up of 15-20%." Minutes from a January 21, 1997 meeting note that this

AWP based on Abbott’s reported prices is subsequently reported in "the Red Book, Blue Book

and Medispan Book and is used by Medicare, Medicaid and Commercial insurance carriers to

determine reimbursement levels."

        70. Neither the Medicaid nor the Medicare programs l~aew of or sanctioned Abbott’s

conduct as set forth in this Complaint, i.e., the deliberate manipulatibn of its published prices to

induce its Customers to purchase the Drugs. Abbott never disclosed the price reporting practices

for the Drugs identified in this Complaint to the Medicaid or Medicare programs.

A.      Vancomycin

        71. ’ Abbott first introduced its generic Vancomycin in 1988. Abbott’s scheme to

defraud the United States by causing inflated Vancomycin reimbursements ran from

approximately 1989 through :2001. Over that time period, Medicare and Medicaid paid in excess

of $75 million for Abbott’s Vancomycin.

        72. During that time period, Abbott reported increasingly higher LPs and AWPs for

Vancomycin to the Price Publications while the actual contract prices at which Abbott sold

Vancomycin to its Customers decreased significantly.

        73. Abbott sold its Vancomycin in several doses and forms. The Vancomycin 1 GM

FTV was the most common dose of Vancomycin reimbursed by Medicare and Medicaid.
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Abbott’s false and fraudulent price reporting on its Vancomycin 1 GM FTV represents how

Abbott reported false and fraudulent prices on its other Vancomycin products.

       74. When Abbott first introduced its Vancomycin 1 GM FTV in 1988, the published

per unit AWP was $25.20. By early 2001, Abbott reported false prices that drove the AWP for

Vancomycin 1 GM FTV to $76.42. At the same time, the price at which Abbott’s Vancomycin

was widely available to purchasers decreased to under $4.00 by early 2001; the difference (and

potential profit) between the reported price and the actual selling price for Vancomycin 1 GM

FTV was as great as $72.42 a dose, or more than 18 times the actual price at which Abbott sold

Vancomycin 1GM FTV.

       75. Abbott fully controlled and manipulated the AWPs forVancomycin 1 GM FTV to

boost its Vancomycin sales at the expense of third party payors, including Medicare and

Medicaid.

       76. Abbott’s manipulation of its reported Vancomycin prices between 1989 and 2001

created spreads sufficient to induce increased sales of that drug. Internal memoranda from senior

Abbott sales staff reveal that Abbott actively l~new about and marketed the large spreads on

¯ several of its drugs, including Vancomycin. Those efforts proved successful; the percentage of

Abbott’s Vancomycin sales reimbursed by Medicaid increased from less than 10% in 1991 to

approximately 70% in 2000.

       77. Abbott’s reporting of Vancomycin prices in 1995 exemplifies the manner in

which Abbott manipulated the price of Vancomycin to maintain and grow its market share. In

March 1995, Abbott temporarily reported dramatically lower LPs and AWPs for Vancomycin.


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Prior to the March 1995 LP/AWP price change, the Price Publications listed a per unit LP of

$50.90 for Abbott’s Vancomycin 1 GM FTV, and a per unit AWP of $60.44 for that drug.

       78. In late March 1995, Abbott reported a new LP of $15.00 for a unit of Vancomycin

1 GM FTV. Based on this new information from Abbott, the Price Publications published

revised per unit prices for Vancomycin 1 GM FTV. They reported a LP of $15.00 and an AWP

of $17.81.

       79.   Abbott received numerous complaints from Customers over the resulting

decrease in the spread. Abbott deliberated internally on whether and by how much Abbott

should again increase its spread so that it could reestablish the inducement that had come to be

expected by its Customers. Abbott documents show Abbott’s pricing personnel carefully

considering the additional profits they could generate for Abbott’s Customers if they artificially

re-inflated the reported prices for Vancomycin 1 GM FTV at various levels.

       80. Abbott subsequently reversed its earlier decision to lower its reported prices and

instead raised its reported Vancomycin prices. In early May 1995, Abbott reported a new per

unit LP for its Vancomycin 1 GM FTV of $32.95. The revised AWP for Abbott’s Vancomycin 1

GM FTV became $39.13 (once the Price Publication applied the standard markup).

       81. That reported price increase proved insufficient. Later that same month (May

1995), Abbott reported yet another set of prices for Vancomycin. The LP Abbott reported for its

Vancomycin 1 GM FTV rose to $52.94 and its AWP rose to $62.86 (once the Price Publication

applied the standard markup).




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       82. Thereafter, Abbott reported higher Vancomycin LPs and AWPs to the Publishers

each year, despite decreases in its actual prices to Customers for Vancomycin over that same

period. The AWP for Abbott’s Vancomycin t GM FTV peaked at $76.42 per unit in early 2001

at the same time that the actual sales price was less than $4 per unit.

       83. The false prices reported by Abbott directly impacted the amount Medicaid and

Medicare reimbursed for Vancomycin. For example, in 1999 Abbott’s Vancomycin 1 GM FTV

was widely available for approximately $4.75 a unit. Yet, Abbott reported a per-unit

Vancomycin LP in 1999 - which served as the baseline for determining the AWP - to First

DataBank of $64.35. As a result, the 1999 AWP for Vancomycin 1 GM FTV was set at $76.42.

       84. New York State’s Medicaid program relied on the First DataBank prices to set its

reimbursement rate for the Vancomycin 1 GM FTV. New York State’s Medicaid reimbursement

rate for the Vancomycin 1 GM FTV in 1999 was $68.77; the AWP for Vancomycin 1 GM FTV

was $76.42 at the time. New York’s reimbursement for Vancomycin 1 GM FTV was AWP

minus 10%, a reimbursement formula generally similar to those of other states. Abbott’s false

price representations created a profit spread of approximately $64.02 for Abbott’s Customers, on

a drug that Abbott sold to those same Customers for approximately $4.75 a unit. The spread

between the New York state Medicaid reimbursement for Vancomycin 1 GM FTV - directly

influenced by Abbott’s false price reporting - and the actual acquisition cost was 1,348%. The

profit to Abbott’s Customers was 13.5 times the typical acquisition cost for the drug.

       85. Abbott’s practice of price manipulation continued into early 200t. At that time,

Abbott reported new, lower WACs to the Price Publications for many of its drugs, including


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Vancomycin, without also reporting new LPs or AWPs. At the time Abbott submitted the new

prices in early 2001, it had been underinvestigation by the Government for pricing fraud. In

addition, members of the House Ways and Means Committee accused Abbott of engaging in

price reporting misconduct that threatened public safety in the fall of 2000; the Centers for

Disease Control had expressed concerns that over-prescription of Vancomycin could lead to the

growth in the population of Vancomycin-resistant bacteria. Also, in October 2001, an Abbott

joint venture, TAP Pharmaceuticals, Inc. paid $875 million to the Government to resolve its

criminal responsibility and civil liability for fraudulent pricing and kickbacks in connection with

the marketing of a drug called Lupron. When Abbott submitted reduced WACs, First DataBank

changed the way it calculated Abbott’s AWP. First Databank personnel set new AWPs for

Abbott products by applying a 25% markup to the newly supplied WACs instead of setting

Abbott’s AWPs by applying a 18.75% markup to Abbott’s still inflated LPs. Abbott tried to

convince First DataBank personnel not to set Abbott’s AWP by reference to these new, lower

WACs; Abbott wanted First DataBank to continue to use Abbott’s then still inflated LPs to

maintain its inflated AWPs. First DataBank refused Abbott’s request. Ultimately, Abbott

reduced its LPs and WACs to reflect the average sales price for the Drugs on April 30, 2001.

       86. The switch to using the lowered WACs drastically dropped Abbott’s reported

AWPs in 2001. For Abbott’s Vancomycin 1 GM FTV, the AWP dropped from $76.42 per unit in

early 2001 (when AWP was determined using the inflated LPs) to $17.72 per unit in 2001 (when

AWP was set using the revised, lowered WACs). By 2002, the AWP for this product was down

to $6.06 a unit.


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        87. As a result of the drop in AWP, the spread on the reimbursement by Medicare and

Medicaid was reduced from $60-$70 a unit to approximately $2.00 a unit.

        88. Abbott’s Customers recognized that Abbott was responsible for creating and

maintaining the spread. Numerous Customers complained to Abbott or the group purchasing

organizations (GPOs) who negotiated prices on behalf of Abbott’s Customers. A large Customer

of Abbott went so far a~ to demand restitution for the almost $10.5 million in lost profits due to

the decrease in spread resulting from Abbott’s 2001 submission of lowered prices to the

reporting agencies.

        89. Internal memoranda from senior Abbott sales staff reveal that Abbott actively

knew about and marketed the large spreads on several of its drugs, including Vancomycin, as an

inducement to purchase Abbott’s drugs.

        90. Abbott’s share of the Medicaid market has dropped steadily since the more

accurate prices started being published in 2001 and thereafter went from approximately 70% in

early 2001 to approximately 20% in 2004.

B.      Large Volume Parenterals

        91. In addition to false price reporting for Vancomycin, Abbott engaged in similar

conduct with respect to its LVPs.

        92. LVPs are essentially sterile water, usually mixed with either salt (sodium chloride).

or sugar (dextrose). LVPs are cheap to produce and are sold at very lo.w prices.

        93.   One of the most cormaaonly utilized Abbott LVPs was 5% Dextrose in Water, 500

ml, NDC # 00074-7922-03 ("5% Dextrose 500 ml").


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       94. In 1993, Abbott’s 5% Dextrose 500 ml could be widely purchased for as little as

$1.80 for a 500ml bag.

       95.    The Red Book AWP for 5% Dextrose 500 ml in 1993 was $8.72.

       96.    Two years later, in 1995, the price for Abbott’s 5% Dextrose 500ml was widely

available for even less; one wholesaler was selling it at $1.50 for a 500 ml bag.

       97. During the same two year period from 1993 to 1995 that the actual prices

dropped, Abbott twice reported higher prices to the Price Publications for 5%. Dextrose 500 ml.

The A:WP - based on Abbott’s representations - increased by 5% in 1994 to $9.16 and was

increased by an additional 3% in 1995 to $9.43.

       98. Thus, while Abbott’s price to the wholesaler dropped by 20% between 1993 and

1995 (from $1.80 to $1.50), Abbott caused its AWP to increase by 8%. By 1995, the spread

between the’ AWP and the resale price of that wholesaler was 628%.

       99. Abbott sold these products directly to Customers at prices comparable to those

offered by the wholesaler.

       100. Abbott continued to report increasing prices for 5% Dextrose 500 ml after 1995.

By reporting increasingly inflated LPs, Abbott caused the Red Book AWP for 5% Dextrose in

Water, 500 ml, NDC # 00074-7922-03 to increase in 1996 to $9.71, in 1997 to $10.20, in 1998 to

$10.71, in 1999 to $11.25 and in 2000 to $11.80. Medicaid and Medicare used these reported

prices to set their reimbursement levels. At the same time, Abbott regularly sold the product to

its Customers for $1.50 or less per bag of the water-based solution.




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        101. Abbott’s reporting of increasingly false and fraudulent prices for its 5% Dextrose

500ml reflects the manner in which Abbott implemented its scheme for all of the LVPs during

the relevant time period. Abbott engaged in identical conduct with respect to the "prices" and

marketing of the other LVP products and package sizes identified by NDC and HCPCS code in

¶¶ 30, 34 of this Complaint.

        102. Abbott used the false and fraudulent prices Abbott reported to the Price

Publications for these water solutions to manipulate reimbursement; the reported prices did not

reflect the achaal prices Abbott was charging to its Customers.

        103. Due to Abbott’s conduct, Abbott’s Customers submitted inflated claims to

Medicare and Medicaid and received millions of dollars in inflated reimbursement for these

water and water-based solutions. Abbott profited off the scheme by increasing its sales volume

and profits. Medicare and Medicaid have paid Abbott’s Customers in excess of $100 million for

Abbott’s LVPs when the typical acquisition costs for those Customers were a fraction of that

amount.

C.      Acyclovir Sodium

        104. Acyclovir Sodium (Acyclovir) is an antiviral drug used to treat several infections.

The brand version, called Zovirax, was originally manufactured by Glaxo Welcome, Inc. Abbott

began selling its generic version of the drug on April 22, 1997.

        105. At the time Abbott launched its versions of Acyclovir in 1997, it reported a LP of

$80.00 for the 500MG Dose of its generic version of Acyclovir (NDC#00074-4427-01). The




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1997 Blue Book AWP for Abbott’s Acyclovir Sodium 500MG was $95.00 (reflecting the

standard price publication mark up on Abbott products of 18.75%).

       106. By 1999, Abbott had raised its reported LP for its Acyclovir Sodium 500MG to

$ 88.20; the AWP for that dose of Abbott’s Acyclovir Sodium had risen to $104.74.

       107. Yet, competition among manufacturers of Acyclovir drove the contract prices for

the drug down sharply. In 1997, Abbott’s Acyclovir Sodium 500MG could be purchased for

$30.00. By 2000, the typical purchase price for Abbott’s Acyclovir Sodium 500MG had eroded

to around $11..

       108. Thus, the spread on Abbott’s Acyclovir went from as much as 316% at product

launch in 1997 to as much as 960% by 2000.

       109. Abbott actively marketed the reimbursement spread on Acyclovir to Customers,

including Ven-A-Care, the relator in this matter. Ven-A-Care operated a home infusion

pharmacy that largely serviced HIV/AIDS patients. On or around May 30, 1997, an Abbott

national account manager directly marketed the spread on its Acyclovir Sodium to Ven-A-Care.

That national account manager sent documents reflecting the spread on Abbott’s Acyclovir and

had conversations with Ven-A-Care where he explicitly marketed the spreads on Abbott’s

Acyciovir products.

       110. On April 30, 2001, Abbott reported new LPs and WACs for its Acyclovir

products. As noted above, the price reporting compendia changed the method it used to calculate

Abbott’s AWP. First Databank began using Abbott’s WAC ~nd applying a 25% markup. The

LP for Abbott’s Acyclovir Sodium 500MG dropped from $88.20 to $4.00; the WAC dropped to


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$3.81. The per unit AWP - based on a 25% markup from the $3.81 WAC - for Abbott’s

Acyclovir Sodium 500MG dropped from $104.74 to $4.76. The revised LP, WAC and AWP

was in keeping with the actual contract price for Abbott’s Acyclovir Sodium 500MG, which by

mid-2001 was around $4.00 a unit.

D.      Abbott’s Home Infusion Pharmacies, Home Infusion Partnerships and Consignment
        Arrangements.

        1.     Home Infusion Pharmacies

        111.   From approximately 1982 until, upon information and belief, 2003, Abbott owned

and operated its own Home Infusion Pharmacies ("Abbott HI Pharmacies") as part of its Hospital

Products Division’s ("HPD"), Alternate Site Home Infusion Department.

        112. Abbott’s HI Pharmacies were located at various times in Atlanta, Georgia,

Chicago, Illinois, Los Angeles, California, and in New Jersey. At some point in that period, the

Abbott HI Pharmacy in Atlanta Georgia closed.

        113. Abbott billed Medicare and Medicaid for products and services dispensed by the

Abbott HI Pharmacies using Abbott’s EIN number and Abbott’s own Medicare and Medicaid

provider codesl

        114. Abbott HI Pharmacies stocked and dispensed Abb6tt products, including, without

limitation, products identified in this Amended Complaint in ¶ 30, as well as other products

produced and sold by Abbott and other manufacturers. Upon information and belief, Abbott

stocked its own products at or near the manufacturing costs for those products. Upon

information and belief, Abbott was able to acquire other manufacturers’ drugs at reduced,

contracted prices.

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       115. The Abbott HI Phanr~acies billed Medicare and Medicaid through the "Abbott

Reimbursement Department" in Abbott’s HPD Alternate Site Home Infusion Department.

       116.   Each of the Abbott HI Pharmacies would operate as follows:

              A.    The Abbott HI Pharmacies would receive patient prescriptions from

physicians, hospitals, outpatient clinics or other care providers.

              B.   Abbott’s Reimbursement Department would ascertain whether the referred

patient was eligible for reimbursement for his or her prescription costs through Medicare,

Medicaid Or a third party insurer.

              C.   Upon receipt of the prescriptions, the Abbott HI Pharmacies would fill the

prescription and would, upon information and belief, at times provide pharmacist services.

              D.    After the prescriptions were filled by an Abbott HI Pharmacy, the Abbott

Reimbursement Department would bill either Medicare, Medicaid or a third-party insurer for the

dispensed drug or product, depending upon patient eligibility.

              E.      For those patients covered under Medicare or Medicaid, a reimbursement

clerk in the Abbott Reimbursement Department would complete a paper or, at a later point, an

electronic, Medicare HCFA 1500 form~ seeking reimbursement from Medicare or a Medicaid

reimbursement forna.

       117. The HCFA 1500 forms or Medicaid reimbursement forms submitted by the

Abbott Reimbursement Department would reflect Abbott’s EIN number and provider number as

the entity to be reimbursed.




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       118. Depending upon the drug and the state program, Medicaid would typically pay to

Abbott the AWP or WAC-based reimbursement for drug or product for which Abbott’s HI

Pharmacy billed. Medicare would typically pay to Abbott the AWP-based reimbursement for

drug or product for which Abbott’s HI Pharmacy billed. Abbott would retain for itself as a profit

the difference between the cost of the drug or product to Abbott and the amount of the

AWP-based reimbursement ("Abbott HI Pharmacy spread").

       119. Upon information and belief, Abbott did not disclose the Abbott HI Pharmacy

spreads to the Medicare or Medicaid programs when it submitted reimbursement forms.

       120. The amounts Abbott HI Pharmacies were reimbursed by Medicare and Medicaid

regularly exceeded the cost to Abbott in stocking and dispensing the drugs and products

dispensed by the Abbott HI Pharmacies - including its own.

       121. In the case of the Abbott Drugs identified in this Complaint, Abbott’s HI

Pharmacies were reimbursed inflated amounts for any claims they submitted for those Drugs due

to Abbott’s fraudulent price reporting scheme.

      2.      Abbott’s Home Infusion Partnerships and Consil~nment Arrangements

       122.   From approximately 1984 until, upon information and belief, 2003, Abbott HPD’s

Alternate Site Home Infusion Department entered into home infusion partnerships ("HI

Partnerships") with various hospitals, care facilities and other medical entities. These HI

Partnerships permitted Abbott’s home infusion partners ("HI Partners") or - in some instances

Abbott - to bill government health programs on behalf of its HI Partners for the Drugs identified

in ¶ 30 at inflated reimbursement levels.


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       123. Abbott had at least 20 to 25 home infusion partners ("HI Partners") in these

partnerships including, but not limited to:3 university of Michigan’s HomeMed, Children’s

Memorial Hospital of Chicago, Care Partners, Baylor, Harris Methodist, UniHealth,

Intennountain, Cedars Sinai, University of Virginia, Seattle Children’s Hospital, Cleveland

Clinic, and University Hospitals of Cleveland.

       124. Abbott entered into standard partnership agreements with the HI Partners and

others. Under the terms of the partnership agreements, Abbott would:

              A.    Provide its HI Partners Abbott drugs and products free of charge on a

       consignment basis, including but not limited to, the Drugs identified in ¶ 30 of this

       Complaint;

             B.       Provide its HI Partners agreed upon services, including, on occasion,

       "reimbursement services;" and

              C.    Add the HI Partner to a group purchasing organization of which Abbott

       was a member, so that the HI Partner, or Abbott on behalf of the HI Partner, could

       purchase drugs and products that Abbott did not manufacture or sell ("Other Non-Abbott

       products") at a substantially reduced contract rate.

       125. The HI Partner would dispense the drugs or products from its pharmacy. If the

drug or product was an Abbott product, that product would be a consigned product that the HI




       3 These HI partners are described herein as identified by an Abbott witness. For some of
these HI partners, the witness did not provide full and complete name information.

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Partner would not pay for on an individual basis, or at any time prior to when the HI Partner

billed Medicare or Medicaid.

       126. As part of its "reimbursement" services for some HI Partners, Abbott’s

Reimbursement Department would submit claims to Medicare, Medicaid and other third party

payors for drugs, medical devices and medical services on the HI Partner’s behalf, using the HI

Partner’s EIN number and Medicare and Medicaid provider codes.

       127. For patients covered under Medicare or Medicaid, an Abbott reimbursement clerk

in the Reinabursement Department would complete a paper or, at a later point, electronic,

Medicare HCFA 1500 form seeking reimbursement from Medicare, or the appropriate Medicaid

reimbursement foma seeldng reimbursement from a State Medicaid program on behalf of the HI

Partner.

       128. Abbott provided reimbursement services to, among others, Care Partners,

University of Michigan, Children’s Hospital and the University of Virginia.

       129. If Abbott was providing reimbursement services to an HI Partner, Abbott’s

Reimbursement Department would collect reimbursements from Medicare, Medicaid and other

third party payors for claims submitted on behalf of that HI Partner. Those reimbursement

amounts were collected in lock box bank accounts that, upon information and belief, were

maintained in the name of the HI Parmer or Abbott.

       130. Upon information and belief, Abbott would never bill the HI Partners for the

drugs and products it consigned to them, and would never expect payment for them. Abbott’s

payment for the consigned Abbott drugs would be some percentage of the HI Partner’s entire pool


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of collections from Medicare, Medicaid and third party payors, regardless of whether it was

Abbott or the HI Partner that submitted the claim.

       131. Under the Consignment Partnership Agreements, the HI Partners would never pay

Abbott individual amounts for the drugs or products consigned to the HI Partner. The Medicare

and Medicaid drug reimbursements were used by Abbott to compensate it for billing and

cQnsulting services not related to the provision of patient care.

       132. For example, a December 1996 Consignment Partnership Agreement, required a

HI Partner to pay Abbott 45.1% of its gross revenue collections for all of its IVIG treatment,

including any administration fee and/or any drug ingredient cost. Thus, Abbott would receive a

percentage of any inflated reimbursement spreads for the Drugs identified in ¶ 30 of this

Complaint that were provided to its HI Partners on consignment.

        133. Abbott never disclosed to the Medicare or Medicaid programs that it was directly

profiting from the reimbursement spreads in the above-described arrangement with the HI

Partners.

       134. If an HI Partner would not contract for reimbursement services, the HI Partner

would submit the claims to Medicare and Medicaid and directly collect the reimbursements.

However, Abbott would still consign its drugs and products to the HI Partner and still share in a

percentage of the total collections collected by the HI Partner.

        135. Several state Medicaid programs would reimburse for Abbott drugs covered by

this arrangement at amounts tied to the AWPs or WACs for those drugs. Medicare also

reimbursed for Abbott drugs covered by these arrangements at amounts tied to the AWPs for the


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Abbott drugs. That amount would then be paid to the HI Partner, who in turn would provide a

percentage share to Abbott of its entire collections as payment for various types of categories of

services.

       136. The cost to Abbott in stocking the HI Partner’s warehouses with Abbott and non-

Abbott drugs and products was far less than the amounts reimbursed by Medicare and Medicaid

for those drugs and products.

       137. Abbott did not disclose to the Medicare and Medicaid programs that the drugs and

products it sought reimbursement for from Medicare or Medicaid actually cost Abbott far less to

consign to the HI Partner than the ultimate Medicare or Medicaid reimbursement amount.

       138. In the case of the Abbott Drugs identified in this Complaint, Abbott’s percentage

of HI Partner reimbursements Abbott that collected was improperly inflated due to Abbott’s

fraudulent price reporting scheme.

                                FIRST CAUSE OF ACTION

                       (False Claims Act: Presentation of False Claims)
                                  (31 U.S.C. § 3729(a)(1))

       139.   Plaintiff repeats and realleges ¶¶ 1 thxough 138 as if fully set forth herein.

       140.   Abbott l~owingly caused or caused to be presented false or fraudulent claims for

payment or approval to the United States for the Drugs for reimbursement that were substantially

higher than providers’ actual acquisition costs for the Drugs and based on reportedprices that

were fraudulently and artificially manipulated by Abbott. Abbott l~owingly used the spread as

an unlawful inducement in violation of the federal anti-ldckback statute, causing resulting false

and fraudulent’ claims to be submitted.

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       141. By virtue of the false or fraudulent claims that Abbott caused to be made, the

United States has suffered damages and therefore is entitled to multiple damages under the False

Claims Act, to be determined at trial, plus civil penalties of not less than $5,000 and up to

$10,000 for each violation occurring before September 29, 1999, and not less than $5,500 and up

to $11,000 for each violation occurring on or after September 29, 1999.

                                 SECOND CAUSE OF ACTION

                           (False Claims Act: Making or Using False
                        Records or Statements to Cause Claims to be Paid)
                                    (31 U.S.C. § 3729(a)(2))

       142.      Plaintiff repeats and realleges ¶¶ 1 through 138 as if fully set forth herein.

       143.      Abbott lcnowingly made, used, or caused to be made or used, false records or

statements - i.e., the false certifications and representations made or caused to be made by

defendants to state Medicaid programs when seeking to ensure that the Medicaid programs

would reimburse for the Drugs, and the false representations to the Publishers upon which

Medicare and Medicaid relied - to cause false or fraudulent claims paid or approved by the

United States.

       144. By virtue of the false records or fals~ statements made by Abbott, the United

States suffered damages and therefore is entitled to treble damages under the False Claims Act,

to be determined at trial, plus civil penalties of not less than $5,000 and up to $10,000 for each

violation occurring before September 29, 1999, and not less than $5,500 and up to $11,000 for

each violation occurring on or after September 29, 1999.




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                                THIRD CAUSE OF ACTION

                                      (Unjust Enrichment)

       ¯ 145. Plaintiff repeats and realleges ¶¶ 1 through 138 as if fully set forth herein.

       146. This is a claim for the recovery of monies by which Abbott has been unjustly

enriched, including (1) profits earned by Abbott through its HI Pharmacies and Consignment

Partnership Agreements and (2) profits from increased sales resulting from the illegal

inducements that Abbott arranged to be paid to its Customers.

       147. By obtaining monies as a result of its violations of federal and state law, Abbott

was unjustly enriched, and is liable to account for and pay such amounts, which are to be

determined at trial, to the United States.

       148. By this claim, the United States requests a full accounting of all revenues (and

interest thereon) and costs incurred by Abbott on sales to Customers to whom it arranged for

unlawful inducements, and disgorgement of all profits earned and/or imposition of a constructive

trust in favor of the United States on those profits.

                               FOURTH CAUSE OF ACTION

                                     (Common Law Fraud)

       149.   Plaintiff repeats and realleges ¶¶ 1 through 138 as if fully set forth herein.

       150.   Abbott made material and false representations concerning the prices of the Drugs

with knowledge of their falsity or reckless disregard for the truth, with the intention that the

United States act upon the misrepresentations to its detriment. The United States acted in

justifiable reliance upon Abbott’s misrepresentations by making payments on the false claims.


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       151. Had the true facts of Abbott’s false price reporting as set forth in this Complaint

been known to the United States, the United States would not have paid for Abbott products.

       152. By reason of these payments, the United States has been damaged in an as yet

undetermined amount.

                                   PRAYER FOR RELIEF

       WHEREFORE, the United States demands and prays that judgment be entered in its

favor against Abbott, jointly and severally, as follows:

       1.      On the First and Second Causes of Action, for the amount of the United States’

damages, trebled as required by law, and such civil penalties as are required by law, together with

all such further relief as may be just and proper.

       2.      On the Third Cause of Action, for the damages sustained and!or amounts by

which Abbott was unjustly enriched, including an accounting of all revenuers unlawfully obtained

by Abbott, the imposition of a constructive trust upon such revenues, and the disgorgement of the

illegal profits obtained by Abbott, plus interest, costs, and expenses, and all such further relief as

may be just and proper.

       3.      On the Fourth Cause of Action, for compensatory and punitive damages in an

amount to be determined, together with costs and interest, and for all such further relief as may

be just and proper.

                               DEMAND FOR JURY TRIAL

       The United States demands a jury trial in this case.




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                                     Civil Action No, 01-12257-PBS/Civil Action No, 06-11337-PBS


For the UnitedStates of America,

MICHAEL J. SULLIVAN                      PETER D. KEISLER
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Dated: June 4, 2007




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                             CERTIFICATE OF SERVICE

               I hereby certify that I have this day caused an electronic copy of the above
UNITED STATES’ FIRST AMENDED COMPLAINT to be served on all counsel of record
via electronic service pursuant to Paragraph 11 of Case Management Order No. 2 by sending a
copy to LexisNexis File & Serve for posting and notification to all parties.

                                  /s/Mark A. Lavine
Dated: June 4, 2007               Mark A. Lavine




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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                 )
 AVERAGE WHOLESALE PRICE                        )
 LITIGATION                                     )
                                                )     MDL No. 1456
                                                )     Master File No. 01-12257-PBS
 THIS DOCUMENT RELATES TO:                      )     Subcategory Case No. 06-11337 -PBS
                                                )
 United States of America ex rel. Ven-a-Care of )
 the Florida Keys, Inc. v. Abbott Laboratories, )     Hon. Patti B. Saris
 Inc., Civil Action NQ. 06-11337-PBS            )
                                                )     Magistrate Judge Marianne B. Bowler



                     STIPULATION FOR VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the False Claims Act, 31 U.S.C. § 3730(b)(1), and in accordance with the terms of the

November __, 2010, Settlement Agreement between the United States, Relator Ven-A-Care of

the Florida Keys, Inc. ("Relator"), and Abbott Laboratories Inc. and Abbott Laboratories

("Abbott") (collectively, the "Parties"), the Parties hereby stipulate, through their undersigned

counsel, to the entry of an order dismissing with prejudice the United States’ First Amended

Complaint filed against Abbott in In re." Pharmaceutical Industry Average Wholesale Price

Litigation, MDL-No. 1456, C.A. No. 01-12257-PBS (D. Mass.) (relating to United States ex rel.

Ven-A-Care of the Florida Keys, Inc. v. Abbott Laboratories, Inc., Civil Action No. 06-11337-

PBS). The dismissed claims, which were previously assigned No. 06-21303-CV-GOLD (S.D.

Fla.), were transferred to this MDL for pre-trial proceedings pursuant to MDL 1456 Conditional

Transfer Order-30 (July 11, 2006).


                                         EXHIBIT B
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       This stipulation has no effect on claims or allegations against any defendants other than

Abbott in In re: Pharmaceutical Industry Average Wholesale Price Litigation, MDL-No. 1456,

C.A. No. 01-12257-PBS (D. Mass.).

       Each party shall bear its own costs and attorneys’ fees.

       WHEREFORE, to permit them to effectuate the terms of their Settlement Agreement,

pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions of the

federal False Claims Act, 31 U.S.C. § 3730(b)(1), the Parties respectfully request that the Court

enter an order in the form attached hereto as Exhibit 1.




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Respectfully Submitted,

For the United States of America,

CARMEN M. ORTIZ                               TONY WEST
UNITED STATES ATTORNEY                        ASSISTANT ATTORNEY GENERAL


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For the Defendant Abbott Laboratories, Inc.   For the relator, Ven-A:Care of the Florida
                                              Keys, Inc.
  /s
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  Case 1:01-cv-12257-PBS Document 7333-1 Filed 12/13/10 Page 62 of 67




                             CERTIFICATE OF SERVICE

               I hereby certify that I have this day caused an electronic copy of the above
"STIPULATION FOR VOLUNTARY DISMISSAL" to be served on all counsel of record via
electronic service pursuant to Paragraph 11 of Case Management Order No. 2 by sending a copy
to LexisNexis File & Serve for posting and notification to all parties.



November __., 2010
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL 1NDUSTRY                  )
 AVERAGE WHOLESALE PRICE                         )
 LITIGATION                                      )
                                                 )
                                                 )
 THIS DOCUMENT RELATES TO:                       )   MDL No. 1456
                                                 )   Master File No. 01-12257-PBS
 United States of America ex rel. Ven-a-Care of. )   Subcategory Case No. 06-11337 -PBS
 the Florida Keys, Inc. v. Abbott Laboratories, )
 Inc., Civil Action No. 06-11337-PBS             )
                                                 )   Hon. Patti B. Saris
                                                 )
                                                 )   Magistrate Judge Marianne B. Bowler



                                  ORDER OF DISMISSAL

       Pursuant to Rule 41 (a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Ac~, 31 U,S.C. § 3730(b)(1), the United States, Relator Ven-A-Care

of the Florida Keys, Inc., and Abbott Laboratories Inc. and Abbott Laboratories ("Abbott")

(collectively, the "Parties") filed with this Court a Stipulation of Voluntary Dismissal in the

above-captioned case. Upon due consideration of the Stipulation of Voluntary Dismissal,

       IT IS ORDERED that:

       1.     Consistent with the terms of the November__, 2010, Settlement Agreement

executed by the United States, Abbott, and Relator (a copy of which is attached as Exhibit A), all

civil monetary claims asserted on behalf of the United States in United States ex tel. Ven-A-Care

of the Florida Keys, Inc. v. Abbott Laboratories, Inc., 06-21303-CV-GOLD (S.D. Fla.)




                                         EXHIBIT 1
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(previously captioned United States ex tel. Ven-A-Care of the Florida Keys, Inc. v. Abbott

Laboratories, Inc., 06-CV-11337-PBS (D. Mass.)), shall be dismissed with prejudice.

       2.     Each party shall bear its own costs and attorneys’ fees.

       3.     The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement to the extent reasonably necessary and appropriate.

       IT IS SO ORDERED THIS __ day of                       ,2010.




                                            THE HONORABLE PATTI B. SARIS
                                            UNITED STATES DISTRICT COURT JUDGE

cc: Counsel of Record
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY )                  MDL NO. 1456’
AVERAGE WHOLESALE PRICE        )
LITIGATION                     )                  CIVII~ ACTION: 01=CV-12257-PBS
                               )                  Subcategory Docket: 06-CV-11337-PBS
                                              )
THIS DOCUMENT RELATES TO                      )   Judge Patti B. Saris
                                              )
U.S. ex rel. Ven-A-Care of the Florida Keys, )    Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., No. 07-CV- )
11618-PBS                                     )



           UNITED STATES’ CONSENT TO RELATOR AND DEFENDANT’S
          STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

        Relator Ven-A-Care of the Florida Keys, Inc. (the "Relator") and Abbot~ Laboratories

 Inc., have agreed to settle and dismiss the above-captioned action.

        Pursuant to 31 U.S.C. § 3730(b)(1), the United States consents to (i) the settlement

between Relator and Abbott Laboratories Inc.; and (ii) the dismissal with prejudice of the

above-captioned action. The United States has determined that the amourit it will receive in

connection with the settlement in the above-captioned case is fair, adequate, and reasonable.




                                         EXHIBIT C
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Respectfully submitted,

FOR THE UNITED STATES OF AMERICA,

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Dated: November__, 2010




                                            2
  Case 1:01-cv-12257-PBS Document 7333-1 Filed 12/13/10 Page 67 of 67




                             CERTIFICATE OF SERVICE

               I hereby certify that I have this day caused an electronic copy of the above
"UNITED STATES’ CONSENT TO RELATOR AND DEFENDANT’S STIPULATION
FOR VOLUNTARY DISMISSAL WITH PREJUDICE" to be served on all counsel of record
via electronic service pursuant to Paragraph 11 of Case Management Order No. 2 by sending a
copy to LexisNexis File & Serve for posting and notification to all parties.



November __, 2010
